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                                                         FILED: June 24, 2021


                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

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                                  No. 19-2384 (L)
                             (1:18-cv-01472-RDA-JFA)
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 ROBERT MARK SCHMIDT; JOHN MCDADE; DAVID ARE; STACY DE LA
 HOZ; ANDREA HALLOCK; TIMOTHY RADEMACHER; BRUCE MORRIS;
 GERALD LEBEL; TOMMY REMBERT; ISAAC GUSMAN, SR.; CRAIG
 CHUBA; DARRIN EATON; LAURA KNIGHT; MICHAEL NOVITSKY; MIA
 FRANKEL; LADEANA SMITH; TUCKER NEWBERRY; ANTERO LACOT;
 THUY NGUYEN; KELLY HOOD; JENIFER MOORHEAD; ROBERT BOERJAN

             Plaintiffs - Appellees

 v.

 FCI ENTERPRISES LLC

             Defendant - Appellant

 and

 MICHAEL GULINO; DANIEL MUSE;JOHN BRONSON; ROBERT KNIBB;
 B.HAGEN SAVILLE

             Defendants

                               ___________________

                                    No. 20-1076
                             (1:18-cv-01472-RDA-JFA)
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 ROBERT MARK SCHMIDT; JOHN MCDADE; DAVID ARE; STACY DE LA
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                Plaintiffs - Appellees

 v.

 FCI ENTERPRISES LLC

                Defendant - Appellant

 And

 MICHAEL GULINO; DANIEL MUSE; JOHN BRONSON; ROBERT KNIBB; B.
 HAGEN SAVILLE

                Defendants

                                  ___________________

                                    JUDGMENT
                                  ___________________

        In accordance with the decision of this court, the judgment of the district court

 is reversed.

        This judgment shall take effect upon issuance of this court's mandate in

 accordance with Fed. R. App. P. 41.

                                          /s/ PATRICIA S. CONNOR, CLERK
